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                        IN THE UNITED STATES BANKRUTPCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                               :
                                     :                        CHAPTER 11
LITTLE WASHINGTON FABRICATORS, INC., :
                                     :
                    Debtor.          :                        Case No. 22-10695 (PMM)


              ORDER APPROVING STIPULATION REGARDING JOINT CHECK
                ARRANGEMENT ON REJECTED EXECUTORY CONTRACT


         AND NOW, upon consideration of the Joint Motion for Approval of Stipulation Regarding

Joint Check Agreement On Rejected Executory Contract (the “Joint Motion”), which was filed by

Stewart & Tate Construction and the Debtor on June 2, 2022, it is hereby ORDERED and

DECREED that:

         1.      The Stipulation (as defined in the Joint Motion) is approved and adopted as an

Order of this Court.

         2.      The Debtor may sign any joint checks under the Contract (as defined in the

Stipulation).

         3.      Any signature of the Debtor on the joint checks will not cause any reinstatement of

the Contract whatsoever.

         It is so ordered.



                                               BY THE COURT:



                                               _____________________________
                                               Honorable Patricia M. Mayer
                                               United States Bankruptcy Judge




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